  
   
 

Ob" -
go s ` m inn UNHED sTATES DIs'rRlcT coURT
FoR THE WESTERN DISTRICT oF TENNESSEB
BASTERN DIVISION ;; l "

*

UN"ITED STATES OF AMERICA,
Plaintiff,
* CR. NO. 04 10074-T

V.

CLINT WALLACB
Defendant.
EXTEND T[ME

MOTION TO C()NT]NUE SENTENC]NG and MOTION
FOR FILING OF POSITION PAPER REGARD]NG ENTENCING

Comes now Defendant by and through appointed coun land moves this Honorable Court

to continue the sentencing presently set for Friday, May 2 , 2005 and to allow add1tlonal time for
ctors In support of this motion Defendant

Defendant to file his position regarding sentencing

Would State:
llowing a plea. Defendant is on bond and continues to

Defendant waits sentencin

l .
sentencing

report to Pre Trial Services pen '
Defense couns recelved a copy of the pre sentence report on Apri126 2005 Counsel

 

)%RANTED fagg

relief requested herein. MOT| ON
vATE= _LL_!_»;LF §§ eggs
sizes
ths document entered on the docket a com nn /,}§/V)\,MA 33 Q°C“
with nme ss and/oraz{b} Fnch on § l ig lQ ga James D- TOdd ` d
U.S. District Judge

O" 3 Hv 61 ing
JU Tb"is nn
\3\

Case 1:04-cr-10074-.]DT Document 52 Filed 05/19/05 Page 2 of 3 Page|D 57

Premises considered, Defendant moves that the sentencing date be continued for the grounds
set forth above. Defendant requests that the sentencing date be continued until the week of June 13,
2005 for the grounds set forth above.

days .

Respectfully submitted, this the § 1 day of l §§ g § 2005.

    
  

M. Dianne` mo ers [01187 ]
Assistant Federal Defender
109 S. Highland Ave., Rm. B-S
Jackson, TN 3830]

73 l-427-25 56

 

QERTIFICATE OF SERVICE

The undersigned hereby certifies that anne and exact copy of the foregoing Was served upon all
interested parties by hand delivery or by mailing sarne, postage prepaid to the following

Mr. Jeny Kitchen _
Assistant United States Attorney
109 South Highland, Suite 300

Jackson, Tennessee, 38301

This the$ g dayof §§[§SM& ,2005.

\\is § int

M. Dianne Smoth€rs`
Assistant Federal Defender

 

oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 1:04-CR-10074 Was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jacl<son7 TN 38301

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

